
82 So.3d 9 (2011)
Arthur David AHMED
v.
STATE of Alabama.
CR-10-1032.
Court of Criminal Appeals of Alabama.
July 29, 2011.
Rehearing Denied September 23, 2011.
Arthur David Ahmed, pro se.
Luther Strange, atty. gen., and Robin D. Scales, asst. atty. gen., for appellee.
BURKE, Judge.
AFFIRMED BY UNPUBLISHED MEMORANDUM.
WELCH, P.J., concurs. KELLUM, J., concurs specially, with opinion.
KELLUM, Judge, concurring specially.
I write specially to note that this action appears to be Arthur David Ahmed's fifth Rule 32, Ala. R.Crim. P., petition challenging his 1999 conviction for murder and his resulting sentence of life imprisonment without the possibility of parole. I believe that allowing Ahmed to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir. 1986), to prevent future frivolous litigation on the part of Ahmed and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App.2009).
